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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

RAYMOND JACKSON,                              )        CASE NO. 5:14CR301
                                              )                 5:17CV347
                                              )
                      Petitioner,             )        JUDGE JOHN R. ADAMS
                                              )
       v.                                     )
                                              )
UNITED STATES OF AMERICA,                     )        ORDER AND JUDGMENT ENTRY
                                              )
                      Respondent.             )
                                              )


       The instant matter is before the Court upon Petitioner’s Motion to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody, filed pursuant to 28 U.S.C. § 2255. Doc. 587.

The petition is DENIED.

       The sole issue presented in the pending § 2255 motion is Petitioner’s contention that his

prior convictions should not have been deemed predicate offenses that warranted imposition of the

Guidelines career offender enhancement. The Court finds no merit in Petitioner’s reliance on

Mathis v. United States, 136 S. Ct. 2243 (2016).

       He relies on Mathis v. United States, 579 U.S. ____, 136 S. Ct. 2243, 195 L.Ed. 2d
       604, 610 (2016), for its insistence that courts must use the “categorical” approach in
       applying the career offender guidelines.

       Mr. Jones is not entitled to relief for a number of reasons. First of all, Mathis did not
       change the law with respect to “generic” offenses, but reinforced what the Court had
       held in Descamps v. United States, 133 S. Ct. 2276, 2281 (2013). Second, the
       categorical approach does not apply to the definition of controlled substance
       offenses, but only to the “violent felony” offenses in § 4B1.1(a).



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United States v. Jones, No. 1:06-CR-073, 2016 WL 6566676, at *2 (S.D. Ohio Nov. 4, 2016),

report and recommendation adopted, No. 1:06-CR-073, 2016 WL 6993399 (S.D. Ohio Nov. 30,

2016). A colleague in the Southern District of Ohio has also addressed the precise argument raised

by Petitioner herein.

       Mathis is not at all concerned with the question raised in this Motion to Vacate.
       Rather, it sharpened the Supreme Court’s analysis of what counts as a prior violent
       felony under the Armed Career Criminal Act (“ACCA”). Jones was not charged or
       sentenced under the ACCA, but under the Career Offender portion of the Sentencing
       Guidelines. The Guidelines’ definition of a prior “crime of violence” parallels the
       definition of “violent felony” under the ACCA. U.S.S.G. § 4B1.2(a). However, its
       definition of “controlled substance offense” is separate in § 4B1.2(b) which
       provides:

       (b) The term “controlled substance offense” means an offense under federal or state
       law, punishable by imprisonment for a term exceeding one year, that prohibits the
       manufacture, import, export, distribution, or dispensing of a controlled substance (or
       a counterfeit substance) or the possession of a controlled substance (or a counterfeit
       substance) with intent to manufacture, import, export, distribute, or dispense.

       Determining whether a prior conviction for a controlled substance offense is a
       qualifying predicate offense under this Guideline does not require comparing the
       elements of the offense with any “generic” controlled substance offense.

United States v. Jones, No. 1:06–CR–073, 2016 WL 6993399, at *1–2 (S.D. Ohio Nov. 30, 2016).

Accordingly, there is no merit in Petitioner’s arguments surrounding his prior drug convictions.

       Petitioner also seeks to amend his petition to include an argument that his prior conviction

for complicity-felonious assault should also not be considered a predicate offense. First, the Court

finds no merit in the analysis set forth by Petitioner. The Court need not consider the “generic”

form of complicity in its evaluation.      Petitioner’s argument, therefore, is wholly misplaced.

Moreover, even if this final conviction were not considered, Petitioner’s prior drug offenses, as

noted above, were sufficient to warrant the career offender enhancement.




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III. CONCLUSION

       For the foregoing reasons, Petitioner Raymond Jackson’s Motion Under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody is hereby DENIED.

       Furthermore, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal from this

decision could not be taken in good faith, and that there is no basis upon which to issue a certificate

of appealability pursuant to 28 U.S.C. § 2253(c); Fed. R. App. P. 22(b).

       IT IS SO ORDERED.

       Dated: April 14, 2017                          /s/ John R. Adams
                                                      JOHN R. ADAMS
                                                      UNITED STATES DISTRICT JUDGE




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